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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE



  UNITED STATES OF AMERICA                                                              PLAINTIFF

  VS.                                                                             NO. 3:11CR-10-S

  VICTOR CANCEL-RODRIGUEZ                                                             DEFENDANT



                              REPORT AND RECOMMENDATION
                               CONCERNING PLEA OF GUILTY

         This matter has been referred to the undersigned Magistrate Judge by the District Court

  for the purpose of conducting proceedings pursuant to Fed.R.Crim.P. 11. The appropriate

  wavier was executed by the defendant and filed in the record. The United States was represented

  by Robert Bonar, Assistant United States Attorney. The hearing was recorded by Alan

  Wernecke, Official Court Reporter. The defendant advised the Court that he did not require the

  services of the Spanish interpreter, Christina Courtright, certified Spanish interpreter. The

  Defendant, Victor Cancel-Rodriguez in custody and by consent with Catherine Kamenish, CJA

  appointed counsel, appeared in open court on May 18, 2011, and entered a plea of guilty as to

  Count 1 of the Indictment pursuant to a Rule 11(c)(1)(B) plea agreement. After cautioning and

  examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, the

  Court determined that the guilty plea was knowledgeable and voluntary as to Count 1 of the

  Indictment, and that the offense charged was supported by an independent basis in fact

  concerning each of the essential elements of such offense. Therefore, the undersigned

  recommend’s that the plea of guilty be accepted, and that the Defendant be adjudged guilty as to

  Count 1 in the Indictment and have sentence imposed accordingly.
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         Sentencing is scheduled for Wednesday August 10, 2011 at 3:00 p.m., before Charles

  R. Simpson III, Judge United States District Court.

         The defendant shall have fourteen (14) days to file any objections to this

  recommendation pursuant to Fed.R.Crim.P. 72(b), or waive the opportunity to do so.

                IT IS HEREBY ORDERED that the defendant shall remain in the custody of

  the United States Marshal.



  Date: May 18, 2011




  Copies to:
  United States Attorney
  Counsel for Defendant                                        May 19, 2011
  United States Marshal
  United States Probation




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